AO 442 (REV. 12/85 Warrant for Arrest)
                                      UNITED STATES DISTRICT COURT
                                        Eastern District of North Carolina

 UNITED STATES OF AMERICA
                                     v.                      WARRANT FOR ARREST
 STANLEY CARL BURKHARDT
                                                             CASE NO. 5:07-HC-2125-D

To: The United States Marshal and any Authorized United States Office

YOU ARE HEREBY COMMANDED to arrest STANELY CARL BURKHARDT

and bring him or her forthwith in compliance with order

           X Order Of Court

CHARGING HIM OR HER WITH (Brief description of offense):

          FAILURE TO COMPLY WITH THE CONDITIONS OF HIS CONDITIONAL RELEASE

In violation of Title 18 United States Codes, Section(s) 4248(f)

 PETER A. MOORE, JR.                                                             Clerk of Court
                     Name of Issuing Officer                                     Title of Issuing Officer



                                                                         August 1, 2019 - Raleigh, NC
            Signature of Issuing Officer / Deputy Clerk                            Date and Location



 RECOMMENDED: DETENTION




                                                          RETURN
 This warrant was received and executed with the arrest of the above named defendant at:




    Date Received
                                                               Name and Title of Arresting Officer (signature)
    Date of Arrest
